    Case 6:24-cv-00024-BMM   Document 42    Filed 03/07/25   Page 1 of 17



Samantha Romero (Cal. Bar No. 344476*)
Ethan Blevins (Mont. Bar No. 37415893)
Caleb R. Trotter (Cal. Bar No. 305195*)
PACIFIC LEGAL FOUNDATION
555 Capitol Mall, Suite 1290
Sacramento, CA 95814
SRomero@pacificlegal.org
EBlevins@pacificlegal.org
CTrotter@pacificlegal.org
Telephone: (916) 419-7111
* Pro hac vice

Matthew G. Monforton (Mont. Bar No. 5245)
Monforton Law Offices, PLLC
32 Kelly Court
Bozeman, MT 59718
matthewmonforton@yahoo.com
Telephone: (406) 570-2949

Attorneys for Plaintiff Do No Harm

          IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MONTANA
                    HELENA DIVISION


DO NO HARM,
                         Plaintiff,       Case No.: 6:24-cv-00024-BMM-
                                                       KLD
           v.
GREGORY GIANFORTE, in his
official capacity as Governor of             SECOND AMENDED
the State of Montana,                           COMPLAINT
                      Defendant.



                                      1
    Case 6:24-cv-00024-BMM    Document 42   Filed 03/07/25   Page 2 of 17



                             INTRODUCTION

     1.    Montana has dozens of state boards and commissions on

which Montanans volunteer to serve the citizens of the state. While most

eligibility requirements are designed to ensure qualified individuals are

appointed to serve, an individual’s candidacy also depends on factors

outside of his or her control, like race and gender. Indeed, for nearly 34

years, Montana governors have been required to consider an individual’s

race and gender when making appointments to the state’s boards,

commissions, committees, and councils.

     2.    The Montana Board of Medical Examiners is one such board.

It regulates, licenses, and investigates health professionals in Montana

to ensure they meet the high standards of the profession. Service on the

Board generally requires that an individual be a licensed and practicing

health professional in good standing in Montana for at least one year.

However, state law also requires the Governor to consider the race and

gender of potential members when making appointments to the Board.

     3.    Such blatant discrimination against individuals who could sit

on the Board serves no legitimate government purpose. It is demeaning,

patronizing, un-American, and unconstitutional.


                                    2
     Case 6:24-cv-00024-BMM    Document 42   Filed 03/07/25   Page 3 of 17



        4.   Do No Harm is an organization of over 14,000 medical

professionals, students, and policymakers dedicated to eliminating

discrimination in healthcare. It has members who are qualified, ready,

willing, and able to be appointed to the Board. It brings this lawsuit to

vindicate its members’ constitutional rights, to ensure that every

qualified doctor in Montana has the equal right to serve on the Board,

and to ensure that Montanans are regulated by a Board that is not

selected on the basis of race and gender.

                     JURISDICTION AND VENUE

        5.   This action arises under the Fourteenth Amendment to the

United States Constitution and 42 U.S.C. § 1983. This Court has

jurisdiction over this federal claim under 28 U.S.C. §§ 1331 (federal

question) and 1343(a) (redress for deprivation of civil rights). Declaratory

relief is authorized by the Declaratory Judgment Act, 28 U.S.C. §§ 2201–

2202.

        6.   Venue is proper in this Court under 28 U.S.C. § 1391(b)(1)

because Defendant resides in this district, and under 28 U.S.C.

§ 1391(b)(2) because a substantial part of the events giving rise to the

claims occurred or will occur in this district.

                                      3
     Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 4 of 17



                               PARTIES

        7.   Plaintiff Do No Harm is a national nonprofit corporation

headquartered in Glen Allen, Virginia. It is a membership organization

of over 14,000 medical professionals, students, and policymakers. Its

mission is focused on keeping divisive identity politics out of healthcare.

Do No Harm’s membership includes individuals who are residents of this

state, at least 18 years of age, and currently practicing as doctors with

active physician licenses in good standing in this state for at least one

year.

        8.   Specifically, Do No Harm Member “A” is a licensed

dermatologist (M.D.) in Montana residing and practicing dermatology in

Flathead County. She is a female who is not a member of a racial minority

group and is over 18 years of age. Member A has practiced as a

dermatologist for 31 years. Member A is qualified, ready, willing, and

able to be considered for appointment to the Board of Medical Examiners.

        9.   Do No Harm Member “B” is a licensed physician (M.D.) in

Montana residing and practicing family medicine in Lake County. He is

a male who is not a member of a racial minority group and is over 18

years of age. Member B has practiced as a physician in Montana for 17


                                    4
     Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 5 of 17



years. Member B is qualified, ready, willing, and able to be considered for

appointment to the Board of Medical Examiners.

     10.   Do No Harm Member “C” is a licensed physician (M.D.) in

Montana residing and practicing specialty surgery in Gallatin County.

He is a male who is not a member of a racial minority group and is over

18 years of age. Member C has practiced as a physician for 10 years.

Member C is qualified, ready, willing, and able to be appointed to the

Board of Medical Examiners and has applied for a position on the Board.

     11.   Do No Harm Member “D” is a licensed physician (D.O.) in

Montana residing and practicing family medicine in Lincoln County. She

is a female who is not a member of a racial minority group and is over 18

years of age. Member D has practiced as a physician for 15 years. Member

D is qualified, ready, willing, and able to be appointed to the Board of

Medical Examiners and has applied for a position on the Board.

     12.   Defendant Greg Gianforte is the Governor of the State of

Montana. Governor Gianforte is required by Montana law to make all

appointments to the Board of Medical Examiners. Mont. Code § 2-15-

108(1) requires Governor Gianforte to consider gender and race when




                                    5
     Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 6 of 17



making appointments to the Board. Governor Gianforte is sued in his

official capacity.

                      FACTUAL ALLEGATIONS

History of Gender and Racial Mandate on Montana Boards

      13.   In 1989, the Montana legislature passed House Joint

Resolution No. 28 “urging that all appointive boards, commissions,

committees, and councils of the state be gender-balanced.”

      14.   Of concern to the 51st Legislature was the lack of an accurate

“reflect[ion of] the contributions of all Montanans in public policymaking”

on the basis of gender. According to the Joint Resolution, less than one-

fourth of the various boards in the state were gender-balanced at the

time, and the Legislature viewed it “important that all appointive boards

… of the state be gender-balanced.”

      15.   In 1991, the 52nd Legislature considered HB 424, a bill

directing that “all appointing authorities,” including the governor, “of all

appointive boards, commissions, committees, and councils of state

government shall take positive action to attain gender balance and

proportional representation of minorities resident in Montana to the

greatest extent possible.” (emphasis added).

                                      6
       Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 7 of 17



       16.   Committee testimony revealed that the chief concern of

lawmakers in considering HB 424 was a lack of gender balance on state

boards and commissions due to alleged “bias.”

       17.   HB 424’s sponsor, Rep. Stickney, stated in testimony that the

bill’s intent is “that a board should be complete, and if a qualified

minority or gender balancing person cannot be found, they have included

the statement ‘to the greatest extent possible.’”

       18.   Throughout the legislative discussions, the governmental

interest asserted was a desire for equal representation for women and

racial minorities on boards and commissions.

       19.   HB 424 was enacted and is now codified at Mont. Code § 2-15-

108.

The Board of Medical Examiners

       20.   The Board of Medical Examiners was first established in 1889

to regulate the practice of medicine in Montana.

       21.   “To protect the health, safety and well being of Montana

citizens,” the Board regulates the delivery of healthcare, licenses

qualified health professionals, investigates allegations of misconduct,




                                      7
     Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 8 of 17



and disciplines health professionals that violate the Board’s rules or

regulations.

     22.   The Board is comprised of 12 members appointed by the

Governor. Five of those members must be doctors of medicine, “including

one with experience in emergency medicine, none of whom may be from

the same county.” Mont. Code § 2-15-1731(2)(a). A qualified doctor must

also be a Montana resident, at least 18 years old, and currently practicing

medicine with an active Montana medical license in good standing for at

least one year. Mont. Code § 37-1-123(4)(a).

     23.   The remaining seven seats on the Board must be filled with

one doctor of osteopathy, one podiatrist, one nutritionist, one physician

assistant, one emergency care provider, and two public members. Mont.

Code § 2-15-1731(2)(b)–(g).

     24.   When making appointments to the Board, the Governor is

required to “take positive action to attain gender balance and

proportional representation of minorities resident in Montana to the

greatest extent possible.” Mont. Code § 2-15-108(1).




                                    8
     Case 6:24-cv-00024-BMM     Document 42    Filed 03/07/25   Page 9 of 17



      25.   So long as the mandates for gender balance and racial

proportionality remain in place, Do No Harm Members A, B, C and D will

not receive equal consideration for openings on the Board.

Appointments to the Board

      26.   Two doctor of medicine (MD) seats on the Board opened in

September 2023. Those seats were filled in April 2024—three weeks after

Plaintiff filed its initial complaint in this case.

      27.   Another MD seat opened in September 2024. That seat was

previously held by a physician from Gallatin County. The seat was filled

by a physician from Lewis and Clark County in January 2025.

      28.   One MD seat will open in September 2025. The current

occupant of that seat is from Yellowstone County.

      29.   Another MD seat will open in September 2026. The current

occupant of that seat is from Hill County.

      30.   The doctor of osteopathy (DO) seat on the Board will also open

in September 2026.

      31.   Two more MD seats will open in July 2027. The current

occupants of these seats are from Missoula and Flathead Counties.




                                       9
    Case 6:24-cv-00024-BMM     Document 42   Filed 03/07/25   Page 10 of 17



        32.   Due to staggered terms, there are regular opportunities

available for seats on the Board with at least annual frequency.

        33.   Openings can also occur unpredictably in the event of a

resignation, removal, or death of a Board member.

        34.   The Governor makes appointments to the Board at

unpredictable times.

        35.   Article VI, Section 4 of the Montana Constitution requires the

Governor to faithfully execute all laws. The Governor is therefore

required to abide by the race- and gender-based mandates established by

Mont. Code § 2-15-108.

        36.   The 12 Board seats are currently held by eight women and

four men. In order to maintain gender balance on the Board in

compliance with Mont. Code § 2-15-108(1), the Governor must appoint

men to upcoming openings, including the MD opening in September

2025.

        37.   If Mont. Code § 2-15-108(1) applies in aggregate to

appointments made to all boards—rather than individually to each

board—then the Governor must appoint women to upcoming openings on

the Board. The Governor’s most recent report made in compliance with


                                      10
    Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 11 of 17



Mont. Code § 2-15-108(3) reflects a sizeable imbalance in favor of men

across all boards.

     38.   Only one of the 12 seats on the Board is currently held by a

member of a minority group. To achieve “proportional representation of

minorities resident in Montana,” Mont. Code § 2-15-108(1), the Governor

must appoint one member of a minority group to the Board. As a result,

it would be futile for Members A and B to apply for a seat on the Board

as none of them are a member of a minority group.

     39.   If Mont. Code § 2-15-108(1) applies in aggregate to

appointments made to all boards—rather than individually to each

board—then the Governor must appoint members of minority groups to

upcoming openings on the Board. The Governor’s most recent report

made in compliance with Mont. Code § 2-15-108(3) reflects a lack of

proportional representation for multiple minority groups—as well as an

overrepresentation of non-minority members—across all boards. As a

result, it would be futile for Members A and B to apply for a seat on the

Board as none of them are a member of a minority group.

     40.   Do No Harm has members who are qualified, ready, willing,

and able to apply for consideration to be appointed to the Board for


                                   11
    Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 12 of 17



upcoming physician vacancies but for section 2-15-108’s race- and

gender-based mandates.

                       CLAIM FOR RELIEF

     41.   Plaintiff realleges   and incorporates by reference the

allegations contained in the previous paragraphs.

     42.   An actual and substantial controversy exists between

Plaintiff, its members, and Defendant. Plaintiff’s members have the right

to seek appointment to the Board of Medical Examiners free from

consideration of their gender and race.

     43.   The     Fourteenth    Amendment     to    the    United    States

Constitution commands that “[n]o State shall . . . deny to any person

within its jurisdiction the equal protection of the laws.” U.S. Const.

amend. XIV, § 1.

     44.   Mont. Code § 2-15-108(1) requires the Governor to consider

and make decisions on the basis of gender and race of potential Board

members when making appointments to the Board of Medical

Examiners.




                                   12
    Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 13 of 17



     45.   Governmental classifications on the basis of race violate the

Equal Protection Clause unless they are narrowly tailored to a

compelling governmental interest.

     46.   The racial mandate in section 2-15-108(1) does not serve a

compelling government interest.

     47.   The racial mandate in section 2-15-108(1) does not remediate

any specific instances of racial discrimination that violated the

Constitution or statutes.

     48.   Even if the racial mandate in section 2-15-108(1) served a

compelling government interest, it is not narrowly tailored to

remediating past, intentional discrimination.

     49.   Governmental classifications on the basis of gender violate

the Equal Protection Clause unless they are substantially related to

important governmental objectives.

     50.   The gender mandate in section 2-15-108(1) does not serve an

important governmental objective.

     51.   Gender balance for the sake of gender balance is not an

important governmental objective and section 2-15-108(1) does not




                                    13
    Case 6:24-cv-00024-BMM      Document 42   Filed 03/07/25   Page 14 of 17



remediate any specific instances of gender discrimination that violated

the Constitution or statutes.

     52.     Even if the gender mandate in section 2-15-108(1) served an

important governmental objective, it is not substantially related to

remediating past, intentional discrimination.

     53.     The mandates in section 2-15-108(1) stereotype individuals on

the basis of race and gender, treat all individuals of different races and

genders as fungible, mandate racial proportionality, require gender

balancing, and have no end date.

     54.     Plaintiff has no adequate remedy at law to compensate for the

loss of its members’ equal protection rights and will suffer irreparable

injury absent an injunction prohibiting Defendant’s enforcement of

section 2-15-108(1)’s gender and racial mandates.

     55.     Plaintiff is therefore entitled to prospective declaratory and

permanent injunctive relief against continued enforcement of section 2-

15-108(1).

                        REQUEST FOR RELIEF

    WHEREFORE, Plaintiff respectfully requests the following relief:




                                      14
    Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25    Page 15 of 17



     A.    A declaration that the gender and racial mandates in Mont.

Code § 2-15-108(1) violate the Equal Protection Clause of the Fourteenth

Amendment to the United States Constitution;

     B.    A   permanent     injunction    forbidding       Defendant        and

Defendant’s agents from enforcing, or attempting to enforce, the gender

and racial mandates in Mont. Code § 2-15-108(1);

     C.    An award of attorney fees, costs, and expenses in this action

pursuant to 42 U.S.C. § 1988; and

     D.    Any further relief as the Court may deem just, necessary, or

proper.

DATED: March 7, 2025.            Respectfully submitted,

                                 /s/ Samantha Romero
                                 Samantha Romero
                                 Cal. Bar. No. 344476*
                                 Ethan Blevins
                                 Mont. Bar No. 37415893
                                 Caleb R. Trotter
                                 Cal. Bar No. 305195*
                                 PACIFIC LEGAL FOUNDATION
                                 555 Capitol Mall, Suite 1290
                                 Sacramento, CA 95814
                                 SRomero@pacificlegal.org
                                 EBlevins@pacificlegal.org
                                 CTrotter@pacificlegal.org
                                 Telephone: (916) 419-7111
                                 * Pro hac vice

                                    15
Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 16 of 17



                             Matthew G. Monforton
                             Mont. Bar No. 5245
                             Monforton Law Offices, PLLC
                             32 Kelly Court
                             Bozeman, MT 59718
                             matthewmonforton@yahoo.com
                             Telephone: (406) 570-2949

                             Attorneys for Plaintiff Do No Harm




                               16
    Case 6:24-cv-00024-BMM   Document 42   Filed 03/07/25   Page 17 of 17



                  CERTIFICATE OF SERVICE

     I hereby certify that on March 7, 2025, I electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system,

which will send notice of such filing to counsel of record who are

registered with CM/ECF.

DATED: March 7, 2025.

                                 /s/ Samantha Romero
                                 Samantha Romero
                                 Cal. Bar. No. 344476*
                                 PACIFIC LEGAL FOUNDATION
                                 555 Capitol Mall, Suite 1290
                                 Sacramento, CA 95814
                                 Telephone: (916) 419-7111
                                 Email: SRomero@pacificlegal.org
                                 *Pro hac vice




                                   17
